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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re: TESTOSTERONE
REPLACEMENT THERAPY                                          MDL No. 2545
PRODUCTS LIABILITY LITIGATION
                                                             Master Docket Case No. 1:14-cv-01748
THIS DOCUMENT RELATES TO:
                                                             Honorable Matthew F. Kennelly
Elmer Jordan v. AbbVie Inc., et al.,
Case No. 1:15-cv-03346
James Reinsel v. Endo Pharmaceuticals Inc., et al.,
Case No. 1:16-cv-00089
Craig Howard v. AbbVie Inc., et al.,
Case No. 1:16-cv-01771
Everett Adams v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:15-cv-11404
Estate of William Holland, v. AbbVie Inc., et al.,
Case No. 1:18-cv-03241
Gary Nash v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:16-cv-00731
Ted Porter v. Endo Pharmaceuticals Inc.,
Case No. 17-cv-03840
Donald Smith v. Auxilium Pharmaceuticals, LLC, et al.,
Case No. 1:15-cv-01340
Frank Miles v. Eli Lilly and Company, et al.,
Case No. 1:15-cv-08581

                         ENDO DEFENDANTS’ STATUS REPORT
                         PURSUANT TO CORRECTED CMO 150

       Defendants Auxilium Pharmaceuticals, LLC (f/k/a Auxilium Pharmaceuticals, Inc.),

Endo Pharmaceuticals Inc., and GlaxoSmithKline LLC (collectively, the “Endo Defendants”) by

and through undersigned counsel, hereby submit this Status Report pursuant to Corrected Case

Management Order (“CMO”) No. 150 (ECF No. 2973) regarding the 9 cases identified on CMO

150. The Endo Defendants’ Motion For an Order To Show Cause that led to CMO 150

identified 6 additional cases that were dismissed with prejudice and terminated prior to the Court

entering CMO 150.

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       A.      CMO 150 Case Ripe For Termination.

            1. Ted Porter v. Endo Pharmaceuticals Inc., Case No. 17-cv-03840: On May 8,
               2019, the parties filed a stipulation dismissing Endo Pharmaceuticals Inc. with
               prejudice. The Endo Defendants respectfully request that the Court issue an order
               terminating this case.

       B.      CMO 150 Cases Ripe For Dismissal With Prejudice and Termination.

       To date, the following 7 Plaintiffs have not met their CMO 126 obligations or filed any

other motions with the Court. As such, the Endo Defendants respectfully request that the Court

issue an order dismissing with prejudice and terminating the following cases:

            1. Elmer Jordan v. AbbVie Inc., et al., Case No. 1:15-cv-03346: On April 30, 2019,
               counsel for Plaintiff filed a notice verifying that counsel notified their client in
               writing of CMO 150 (ECF No. 20). Plaintiff failed to show cause in writing by
               May 10, 2019, why his case should not be dismissed under CMO 126, paragraph
               B.11 for failure to comply with the CMO 126 obligations of paragraphs B.9 and
               B.10. The Endo Defendants respectfully request that the Court issue an order
               dismissing the case with prejudice and terminating this case.

            2. James Reinsel v. Endo Pharmaceuticals Inc., et al., Case No. 1:16-cv-00089: On
               April 22, 2019, counsel for Plaintiff filed a notice verifying that counsel notified
               their client in writing of CMO 150 (ECF No. 14). Plaintiff failed to show cause in
               writing by May 10, 2019, why his case should not be dismissed under CMO 126,
               paragraph B.11 for failure to comply with the CMO 126 obligations of paragraphs
               B.9 and B.10. The Endo Defendants respectfully request that the Court issue an
               order dismissing the case with prejudice and terminating this case.

            3. Craig Howard v. AbbVie Inc., et al., Case No. 1:16-cv-01771: On April 24, 2019,
               counsel for Plaintiff filed a notice verifying that counsel notified their client in
               writing of CMO 150 (ECF No. 35). Plaintiff failed to show cause in writing by
               May 10, 2019, why his case should not be dismissed under CMO 126, paragraph
               B.11 for failure to comply with the CMO 126 obligations of paragraphs B.9 and
               B.10. The Endo Defendants respectfully request that the Court issue an order
               dismissing the case with prejudice and terminating this case.

            4. Everett Adams v. Auxilium Pharmaceuticals, LLC, et al., Case No. 1:15-cv-11404:
               On April 22, 2019, counsel for Plaintiff filed a notice verifying that counsel notified
               their client in writing of CMO 150 (ECF No. 17). Plaintiff failed to show cause in
               writing by May 10, 2019, why his case should not be dismissed under CMO 126,
               paragraph B.11 for failure to comply with the CMO 126 obligations of paragraphs
               B.9 and B.10. The Endo Defendants respectfully request that the Court issue an
               order dismissing the case with prejudice and terminating this case.


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           5. Estate of William Holland, v. AbbVie Inc., et al., Case No. 1:18-cv-03241:
              Counsel for Plaintiff did not file a notice verifying that counsel notified their client
              in writing of CMO 150. Counsel had ample notice of CMO 150 based on the
              related filings on both this docket and the main MDL docket. Plaintiff failed to
              show cause in writing by May 10, 2019, why his case should not be dismissed
              under CMO 126, paragraph B.11 for failure to comply with the CMO 126
              obligations of paragraphs B.9 and B.10. The Endo Defendants respectfully request
              that the Court issue an order dismissing the case with prejudice and terminating this
              case.

           6. Gary Nash v. Auxilium Pharmaceuticals, LLC, et al., Case No. 1:16-cv-00731:
              On April 22, 2019, counsel for Plaintiff filed a notice verifying that counsel notified
              their client in writing of CMO 150 (ECF No. 22). Plaintiff failed to show cause in
              writing by May 10, 2019, why his case should not be dismissed under CMO 126,
              paragraph B.11 for failure to comply with the CMO 126 obligations of paragraphs
              B.9 and B.10. The Endo Defendants respectfully request that the Court issue an
              order dismissing the case with prejudice and terminating this case.

           7. Frank Miles v. Eli Lilly and Company, et al., Case No. 1:15-cv-08581: On April
              24, 2019, counsel for Plaintiff filed a notice verifying that counsel notified their
              client in writing of CMO 150 (ECF No. 21). Plaintiff failed to show cause in
              writing by May 10, 2019, why his case should not be dismissed under CMO 126,
              paragraph B.11 for failure to comply with the CMO 126 obligations of paragraphs
              B.9 and B.10. The Endo Defendants respectfully request that the Court issue an
              order dismissing the case with prejudice and terminating this case.

      C.       CMO 150 Case Ripe For Dismissal With Prejudice and Termination But
               Subject to Other Motion Practice.

           1. Donald Smith v. Auxilium Pharmaceuticals, LLC, et al., Case No. 1:15-cv-01340:
              Plaintiff failed to show cause in writing by May 10, 2019, why his case should not
              be dismissed under CMO 126, paragraph B.11 for failure to comply with the CMO
              126 obligations of paragraphs B.9 and B.10. However, on May 9, 2019, counsel
              for Plaintiff filed a motion to transfer venue under 28 U.S.C. § 1404(1), with no
              mention of Plaintiff’s CMO 126 or CMO 150 obligations. Auxilium intends to
              oppose this motion and enforce CMOs 126 and 150. The Court set the following
              briefing schedule: Auxilium’s response is due May 28, 2019, and Plaintiff’s reply
              is due June 4, 2019.

May 16, 2019                                         Respectfully submitted,

                                                     /s/ Andrew K. Solow
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                                          Endo Pharmaceuticals Inc., and
                                          GlaxoSmithKline LLC




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                                  CERTIFICATE OF SERVICE

        I, Daniel Meyers, hereby certify that on May 16, 2019, the foregoing document

was filed via the Court’s CM/ECF system, which will automatically serve and send email

notification of such filing to all registered attorneys of record.

                                                                /s/   Daniel Meyers




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